     Case 4:19-cr-00017-LGW-CLR Document 101 Filed 08/15/19 Page 1 of 2

                                                             U.S.DlS'f^rc CO^XiU
                                                               SA\     AH biv.

                IN THE UNITED STATES DISTRICT COURT FOR
                                                                     '5 PH 2:58
                   THE SOUTHERN DISTRICT OF GEORGIA-
                            SAVANNAH DIVISION
                                                                          uA.



UNITED STATES OF AMERICA,


V.                                                Case No.   CR419-017


ERIC DAVIS,
                   Defendant




UNITED STATES OF AMERICA,


V.                                                Case No.   CR419-075


EMMITT HAYES,
                   Defendant




                                  ORDER


      Jeffrey L. Arnold, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.             The Court is

mindful that personal and professional obligations require the

absence    of    counsel   on   occasion.   The    Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and            trial shall
   Case 4:19-cr-00017-LGW-CLR Document 101 Filed 08/15/19 Page 2 of 2




not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



     SO ORDERED this          day of August 2019.




                                 HONORABLE WILLIAM T. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
